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Deposition of Dawn Heikkila                                                   Jenna Clark v. Carmine Marceno


   1                            UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
   2

   3
         JENNA CLARK,
   4
                 Plaintiff,
   5                                                 CASE NO.: 2:22-cv-614-SPC-NPM
         v.
   6
         CARMINE MARCENO, in
   7     his official capacity
         as Sheriff of Lee
   8     Country, Florida,
   9         Defendant.
         ----------------------/
 10
                                      ZOOM DEPOSITION OF
 11
                                           DAWN HEIKKILA
 12
                                TAKEN ON BEHALF OF PLAINTIFF
 13

 14
         DATE TAKEN:              Wednesday, October 11, 2023
 15
         TIME:                     11:24 a.m. to 12:42 p.m.
 16
         PLACE:                    All parties appeared via videoconference
 17

 18

 19

 20

 21

 22
                       Examination of the witness taken before:
 23
                                       Julie S. Evans
 24                           Court Reporter and Notary Public
 25

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   1     APPEARANCES:
   2     KYLE T. MACDONALD, ESQUIRE (via Zoom)
         Derek Smith Law Group, PLLC
   3     520 Brickell Key Dr.
         Suite O-301
   4     Miami, Florida 33131
   5               On behalf of the Plaintiff.
   6     DAVID J. STEFANY, ESQUIRE (via Zoom)
         Allen Norton & Blue, P.A.
   7     324 South Hyde Park Avenue
         Suite 225
   8     Tampa, Florida 33606-4128
   9               On behalf of the Defendant.
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 11
                                                 - - - - -
 12
                                     S T I P U L A T I O N S
 13
                              It is hereby agreed and so stipulated by and
 14
         between the parties hereto, through their respective
 15
         counsel, that the reading and signing of the transcript
 16
         are hereby waived.
 17
                                               - - - - -
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   1                                   P R O C E E D I N G S
   2                          THE COURT REPORTER:              This is the Zoom
   3             deposition of Dawn Heikkila, being taken in the
   4             matter of Clark v. Marceno as Sheriff of Lee
   5             County, Florida.
   6                          Please raise your right hand.                      Do you solemnly
   7             swear or affirm your testimony will be the truth,
   8             the whole truth, nothing but the truth, so help you
   9             God?
 10                  THE WITNESS:            I do.
 11      THEREUPON:
 12                                          DAWN HEIKKILA,
 13      having first been duly sworn, testified as follows:
 14                                      DIRECT EXAMINATION
 15      BY MR. MACDONALD:
 16              Q.           Could you please state your full name for the
 17      purposes of the record, please.
 18              A.           Dawn Marie Heikkila.
 19              Q.           And do you understand that you've been placed
 20      under oath and that you have an obligation to testify
 21      truthfully?
 22              A.           I do.
 23              Q.           And do you understand that, even though we are
 24      conducting this deposition through Zoom, your testimony
 25      has the same force and effect as if you were testifying

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   1     in a court of law, before a judge and jury?
   2             A.           Yes.
   3             Q.           Is there anything that would prevent you from
   4     thinking clearly and testifying truthfully today?
   5             A.           No.
   6             Q.           Where do you currently work?
   7             A.           At the Forsyth County Government, in Winston
   8     Salem, North Carolina.
   9             Q.           And when did you start that position?
 10              A.           I started in July of 2023.
 11              Q.           And where did you work, prior to that?
 12              A.           For Lee County Sheriff's Office.
 13              Q.           How long did you work with the Lee County
 14      Sheriff's Office for?
 15              A.           24 years and a couple of months.
 16              Q.           What was the last position you held at the Lee
 17      County Sheriff's Office?
 18              A.           Director of human resources.
 19              Q.           And what did you do, as the director of human
 20      resources?
 21              A.           I hired people; I administered -- I was
 22      supervisor of the Risk Management Unit and of the
 23      Benefits Unit and Human Resources, hiring, and things
 24      like that.
 25              Q.           Who did you report to, as director of human

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   1     resources?
   2             A.           Before I left, Annmarie Reno.
   3             Q.           Did you hold any other positions during your
   4     employment at the Lee County Sheriff's Office?
   5             A.           I did, yes.
   6             Q.           What positions did you hold?
   7             A.           Risk manager, and I started as a human resource
   8     assistant, I believe.
   9             Q.           Do you have any training in human resources?
 10              A.           I do.
 11              Q.           And what training have you received related to
 12      human resources?
 13              A.           Wow, a lot; I've gone to many, many conferences
 14      and formal training and, you know, I have a bachelor's
 15      degree.              Through the years, every year, I went to -- you
 16      know, just about every year, we went to various
 17      trainings.              I could not possibly recall all of them for
 18      you, but lots of training.
 19              Q.           Are you a member of the Society of Human
 20      Resources Management, also known as SHRM?
 21              A.           Yes.
 22              Q.           How long have you been a member for?
 23              A.           Oh, gosh, probably since 2005 or -- a long time.
 24              Q.           When you were director of human resources at
 25      the Lee County Sheriff's Office, did any employees

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   1     report directly to you?
   2             A.           Yes.
   3             Q.           And which employees were those?
   4             A.           Carrie Turner, Cindy Jinx (ph); those were two
   5     of my direct reports, at the end.                             Right before I
   6     retired, those were the two.
   7             Q.           In your role as director of human resources,
   8     were you involved in decisions to hire or fire employees?
   9             A.           Yes.
 10              Q.           What was your role in terminating employees at
 11      the Lee County Sheriff's Office?
 12              A.           Terminating employees was notice; I did the
 13      notifications most of the time.
 14              Q.           How did you typically notify employees that
 15      they were being terminated?
 16              A.           Sometimes, just in writing; other times, in
 17      person and in writing; sometimes just in person,
 18      depending on the situation.
 19              Q.           In your role as director of human resources,
 20      did you receive any training related to discrimination?
 21              A.           Yes.
 22              Q.           What training did you receive?
 23              A.           Many, many times through the years, it was part
 24      of -- it was part of my training; I couldn't tell you
 25      how many times or specifically.                            The Florida Sheriff's

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   1     Association does a lot of that; that's the only one I
   2     could probably recall specifically.
   3             Q.           Did you ever give any trainings related to
   4     discrimination to employees of the Lee County Sheriff's
   5     Office?
   6             A.           I'm sorry, could you repeat that.
   7             Q.           Did you ever give any training related to
   8     discrimination, in your role as director of human
   9     resources?
 10              A.           Yes.
 11              Q.           What trainings did you give to employees?
 12              A.           There was a time when we -- when I participated
 13      in supervisor training, and that included a
 14      discrimination piece.                   Many, many years ago, we did
 15      that; not recently.
 16              Q.           Do you recall what that training covered?
 17              A.           Well, you know, it was from a supervisor
 18      standpoint, so it was, you know, basically -- I mean, I
 19      trained out of a manual that we purchased from a
 20      discrimination -- you know, a whole program; so I didn't
 21      make it up, myself.                 It would have been formalized.
 22              Q.           In your role as director of human resources,
 23      were you involved in receiving complaints of
 24      discrimination or harassment?
 25              A.           Yes.

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   1             Q.           What was your role in receiving complaints of
   2     discrimination or harassment?
   3             A.           Employees could come to me and report or
   4     discuss, if they had a situation where they felt they
   5     were being discriminated against or harassed; they could
   6     report it to me, I would gather the information, and I
   7     would basically get the appropriate parties involved to
   8     do the investigation.
   9             Q.           Did you conduct the investigation into --
 10      strike that.              Did you conduct an investigation into
 11      every complaint of discrimination that you received?
 12              A.           I did not conduct the investigations, no.
 13              Q.           Who conducted those investigations?
 14              A.           That's a broad question, but so I don't know
 15      exactly the answer to that.                        I can tell you that
 16      Internal Affairs was a division in the Sheriff's Office
 17      that was tasked with completing -- you know, with
 18      conducting investigations, and that's who I would have
 19      referred any complaints, along with my chain of command.
 20              Q.           What was the last time you received a complaint
 21      of discrimination in your role as director of human
 22      resources?
 23              A.           That would have been Christian Mojica.
 24                           THE COURT REPORTER:             Could you repeat that
 25              name?

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   1                          THE WITNESS:       Christian Mojica.              M-O-J-I-C-A, I
   2             believe.
   3     BY MR. MACDONALD:
   4             Q.           And who is Christian Mojica?
   5             A.           He was a corrections officer at the Sheriff's
   6     Office.              I think his whole -- I he was a corrections
   7     officer the whole time he worked there.                                I'm not
   8     positive, but that's what he was doing when I took the
   9     complaint.
 10              Q.           What did Christian Mojica complain to you
 11      about?
 12              A.           Several things; he had numerous complaints
 13      throughout the years.                   He didn't want to work night
 14      shift, so he was complaining when other people got
 15      transferred from the night shift, you know, if it wasn't
 16      him.        He -- I think he complained -- he did complain one
 17      time because he thought someone poisoned his coffee.                                         He
 18      complained when he didn't get promoted to sergeant;
 19      although he eventually did get promoted to sergeant, but
 20      at one time, that was one of his complaints.                                 I think
 21      that's all the formal complaints he made.                               I think;
 22      that's what I remember, in terms of formal complaints
 23      from him.
 24              Q.           When was the most recent formal complaint that
 25      Christian Mojica made to you?

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   1             A.           When?   I want to say it was probably around --
   2     hold on, I have it here in my notes.                                    Can I check my
   3     notes?          I might have it.               If you want -- it was probably
   4     in the last year or two that I worked there, but I don't
   5     know.         I don't know exactly.
   6             Q.           What specifically did Christian Mojica report
   7     to you in the last time that he made a formal complaint
   8     to you?
   9             A.           That would have been, he wanted transferred to
 10      days; he was having health issues, and he wanted
 11      transferred to days.                   He was bringing in doctor's notes
 12      that suggested he work the days.                             And there was no day
 13      shift open, so he wasn't getting transferred and that's
 14      why he complained to me, because he felt that he should
 15      be transferred to days, regardless if there was a
 16      position open.
 17              Q.           And what did you do in response to this
 18      complaint?
 19              A.           I notified my chain of command that he had a
 20      complaint, so that it could be investigated.
 21              Q.           And was it investigated?
 22              A.           Yes, it was.
 23              Q.           Who conducted that investigation?
 24              A.           I believe it was a chief -- I don't know what
 25      his title was at the time; I think it was Matthew Sands.

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   1     I think it was Chief Sands, at the time, in accordance
   2     probably with IA.                But I believe that's who I got the
   3     information back from, that the investigation was
   4     completed.              There could have been other people involved;
   5     I'm not aware.
   6             Q.           Did Christian Mojica ever complain to you
   7     regarding FMLA leave?
   8             A.           I talked to him about FMLA leave; he took a lot
   9     of FMLA leave, I think; I don't know that there was ever
 10      a real complaint on his part, regarding that.                                    But I
 11      mean, he did take FMLA leave quite a few times.
 12              Q.           What was the outcome of the investigation with
 13      Christian Mojica?
 14              A.           It was that there were no positions available
 15      on the day shift, and so he didn't get -- he wasn't
 16      getting transferred because there were just no positions
 17      available; and we couldn't create a position for him,
 18      just because he wanted to be on days.                                  So I believe it
 19      was just found that, you know, that there was just
 20      wasn't a position available for him, and that's why he
 21      wasn't being transferred.
 22              Q.           When did you first meet Jenna Clark?
 23              A.           I have no idea.          I started work there in 1999,
 24      so probably -- maybe -- I don't know.                                  Sometime.       A long
 25      time ago.

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   1             Q.           How often did you interact with Jenna Clark
   2     when she was director of purchasing?
   3             A.           Well, I mean, not frequently.                       You know, I
   4     mean, there was a time when we had meetings in our
   5     bureau, and I would have seen her at those meetings.
   6     But towards -- you know, that was early on in my career.
   7     So I mean, if I stopped in there or if she stopped into
   8     HR.       Most of the time, it would have been over the
   9     phone, you know, if she had a question or I had a
 10      question.              But it was not frequent.
 11              Q.           And who was Ms. Clark's supervisor, as director
 12      of purchasing?
 13              A.           Annmarie Reno would have been, you know, in the
 14      most recent years.
 15              Q.           How often did you interact with Annmarie Reno?
 16              A.           A lot.    She was my supervisor, as well.
 17              Q.           What was Annmarie Reno's title?
 18              A.           Executive director of person -- support
 19      services.
 20              Q.           Did Annmarie Reno ever talk to you about Jenna
 21      Clark, during your employment?
 22              A.           Yes.
 23              Q.           What would Annmarie Reno discuss with you
 24      regarding Jenna Clark?
 25              A.           She discussed one time when Jenna -- when she

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   1     had to have a coaching session with Jenna; she discussed
   2     that with me, briefly, you know.                              And I mean, other than
   3     that, she discussed when Jenna was needing to be out for
   4     a medical condition that she was having and to put --
   5     about FMLA.                I mean, that's probably about it, that I
   6     can recall anyway.                   And then, obviously, about the
   7     Reduction in Force, yeah.
   8             Q.           Did Annmarie Reno ever complain to you about
   9     Jenna Clark or her job performance to you?
 10              A.           No.
 11              Q.           Did Annmarie Reno and Jenna Clark get along
 12      well, as far as you understand?
 13              A.           I believe so, yes.
 14              Q.           Do you know if Annmarie Reno still works for
 15      the Lee County Sheriff's Office?
 16              A.           I believe she does.
 17              Q.           Did you ever interact with Annmarie Reno --
 18      sorry, strike that.                   Did you ever discuss the handling
 19      of FMLA leave requests with Annmarie Reno?
 20              A.           I don't think so, no.                 I mean, you'd have to
 21      give me a specific for that.                           Not in general, no.             I
 22      knew what to do, how to handle those.
 23              Q.           Did you ever discuss any leave requests made by
 24      Jenna Clark with Annmarie Reno?
 25              A.           Well, Annmarie told me that Jenna was going to

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   1     be out for a surgery and I know that -- and Jenna told
   2     me too; but, yeah, Annmarie told me.                                    And then there was
   3     a time when Annmarie told me Jenna was going out on FMLA
   4     also.         That's about it, I think.
   5             Q.           I'm going to show you a document.                        (Screen
   6     share began.)               We will mark this as Plaintiff's Exhibit
   7     9, and it's defendant's Bates label 3431.                                   I'll have you
   8     read through this.
   9             A.           (Witness peruses the document.) okay.
 10              Q.           Do you recognize this document?
 11              A.           Yes.
 12              Q.           And what is it?
 13              A.           It's an excerpt from our policy.
 14              Q.           Is this an email message sent by you?
 15              A.           Yes.
 16              Q.           And is this a message sent to Jenna Clark and
 17      Shannon Lehman?
 18              A.           Yes.
 19              Q.           And this message appears to be dated June 18,
 20      2020, at 12:47 p.m.; correct?
 21              A.           Correct.
 22              Q.           Why did you send this message to Jenna Clark
 23      and Shannon Lehman?
 24              A.           I don't remember.
 25              Q.           Is this the FMLA leave policy for the Lee

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   1     County Sheriff's Office?
   2             A.           No.
   3             Q.           How would you describe that, then?
   4             A.           This is part of a policy that talks about --
   5     really, it's more like leave without pay.                              Basically,
   6     the reason for this is so that employees know that they
   7     have to -- if they have accrued time, they have to use
   8     it, if they're going to be away from work, rather than
   9     going without pay, unless -- the only part of that for
 10      FMLA is, FMLA is an unpaid entitlement; so there's an
 11      excerpt in here that talks about, you knonw, unless it's
 12      FMLA.         But that's what that's for.
 13              Q.           You do not recall why you sent this message to
 14      Jenna Clark and Shannon Lehman?
 15              A.           I don't.
 16              Q.           Who is Shannon Lehman?
 17              A.           Shannon is the manager in Purchasing; she
 18      worked for Jenna.
 19              Q.           Do you see the sentence where it says, "A
 20      pattern of abuse may be cause for disciplinary action"?
 21              A.           Yes.
 22              Q.           Do you know what it's referring to, by "a
 23      pattern of abuse"?
 24              A.           Leave, some type of leave.
 25              Q.           As the director of human resources, did you

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   1     ever have any employees engage in a pattern of abuse in
   2     using leave?
   3             A.           Employees that reported to me, or in general?
   4             Q.           In general, in your role as director of human
   5     resources, are you aware of any employees that engaged
   6     in a pattern of abuse as it relates to leave?
   7             A.           I'm sure I was.           I'm sure I heard of issues, at
   8     some point in time throughout my career.                                   But this type
   9     of situation would be investigated through Internal
 10      Affairs.
 11              Q.           Are you aware of any employees that were
 12      disciplined for engaging in a pattern of abuse as it
 13      relates to leave, during your time at the Lee County
 14      Sheriff's Office?
 15              A.           I know -- I know it occurred, but I can't
 16      recall any specific names.
 17              Q.           I'll show you another document.                       We'll mark
 18      this as Plaintiff's No. 10.                         It's Bates labeled 1294 and
 19      1295.         I'll give you a moment to review this.                              Just let
 20      me know when to scroll.
 21              A.           Yes, I'm familiar with this.                       Go ahead.
 22              Q.           I'm going to scroll down, just to give you an
 23      opportunity to review it.
 24              A.           Yes.   Got it.
 25              Q.           Do you recognize this document?

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   1             A.           Yes.
   2             Q.           And what is it?
   3             A.           This is an email trail from Jenna and I, where
   4     Jenna was going out for a surgery; she told Annmarie,
   5     Annmarie approved it, and told her to make sure that she
   6     let me know, in case we needed to apply FMLA.                                So this
   7     is me going back and forth with Jenna, asking her how
   8     long she was going to be out, so I could establish
   9     whether that 7 days -- you know, whether it was going to
 10      be a lot more or if it was not.                            And this is where she
 11      told me that, and then I instructed her on what to do if
 12      it was going to be longer.
 13              Q.           In this first message, dated August 12, 2021,
 14      at 12:26 p.m., this is a message from Jenna Clark;
 15      correct?
 16              A.           Correct.
 17              Q.           And it's directed towards you; correct?
 18              A.           Correct.
 19              Q.           And in this message, Ms. Clark is notifying you
 20      that she has a surgery scheduled on the 18th of August;
 21      correct?
 22              A.           Correct.
 23              Q.           When Annmarie Reno approved Ms. Clark's time,
 24      would she have decided the type of leave that Ms. Clark
 25      would take?

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   1                          MR. STEFANY:       Objection as to form.              You may
   2             answer.
   3                          THE WITNESS:       Policy would have indicated what
   4             kind of leave she had and whatever she had in her
   5             accrual bank.
   6     BY MR. MACDONALD:
   7             Q.           Let me ask you this.              Did Annmarie Reno ever
   8     communicate the type of leave that Jenna Clark should
   9     take for her surgery?
 10              A.           No.
 11              Q.           Did Annmarie Reno discuss this specific leave
 12      request with you?
 13              A.           Just to say, did -- I think I remember her
 14      saying or, you know, "Jenna got with you; she's going to
 15      be out; I approved it; I told her to get with you."                                      And
 16      I said, "She did."
 17              Q.           When you received this message from Jenna
 18      Clark, did you understand it to be a request to use FMLA
 19      leave?
 20              A.           Well, I understood it to be a qualifying event
 21      for FMLA, sure.              Yeah.
 22              Q.           At the time you received this message, did you
 23      believe that Jenna Clark was eligible to take FMLA
 24      leave?
 25              A.           I did, yes.

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   1             Q.           And do you see the next message dated August
   2     12, 2021, at 1:04 p.m.?
   3             A.           Yes.
   4             Q.           And this is a message from you, to Jenna Clark;
   5     correct?
   6             A.           Correct.
   7             Q.           Who is the Amy that you reference in this
   8     email?
   9             A.           Amy is the person I mentioned who handles FMLA,
 10      in Risk Management.
 11              Q.           And why did you mention whether Ms. Clark would
 12      be out for more than a week, in that email?
 13              A.           Because it was our practice to not require the
 14      employee to go through all the paperwork requirements
 15      and certifications for an FMLA, if they gave us enough
 16      information to know it was a qualifying event; and if
 17      they said it was only going to be a short amount of
 18      time, we would not make them go through all the process
 19      of the paperwork for just 7 days.                             Because by the time
 20      they would -- if we did, by the time they got the
 21      paperwork, you know, they would be back to work.
 22                           So there was no need for us to do that.                       It was
 23      approved time; we had no issue with her being out; we
 24      knew it was a qualifying event.                            And, yeah, that's why I
 25      said, let me know if it's going to be longer, and we'll

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   1     activate the FMLA for you.                       But for just 7 days, she was
   2     already getting approval.
   3             Q.           Did you have to document this request anywhere?
   4             A.           I mean, I made a note of it for myself, so that
   5     I would follow up and make sure that she came back, but,
   6     no.       Annmarie would have taken care of that
   7     documentation that was required.
   8             Q.           And what documentation would be required?
   9             A.           Just her time sheet.              You know, just making
 10      sure she completed her time sheet so that she would get
 11      her pay.
 12              Q.           And do you see the message dated August 12,
 13      2021, at 1:06 p.m.?
 14              A.           Yes.
 15              Q.           And this is a message from Jenna Clark to you;
 16      correct?
 17              A.           Correct.
 18              Q.           And in it, it appears that Jenna Clark is
 19      telling you the amount of days that she'll be out; is
 20      that correct?
 21              A.           Correct.
 22              Q.           And she said, "a total of 7 days"; is that
 23      right?
 24              A.           Yes.
 25              Q.           She also tells you the dates that she's going

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   1     to be out; is that right?
   2             A.           Yes.
   3             Q.           And do you see the message dated August 12,
   4     2021, at 1:16 p.m.?
   5             A.           Yes.
   6             Q.           And this is a message from you, to Jenna Clark;
   7     correct?
   8             A.           Correct.
   9             Q.           And in this message, you tell Jenna Clark that,
 10      "While we are so busy right now, then I am going to hold
 11      off on the FMLA"; is that correct?
 12              A.           Correct.
 13              Q.           What do you mean, "we are so busy right now"?
 14              A.           Oh, well, during that time, it was during Covid
 15      and our Risk Management unit was just slammed.                                 And so I
 16      was indicating that, that I wasn't going to refer her to
 17      Amy, unless she was going to be out more than the 7 days
 18      that we normally allow people to be out before we
 19      require the FMLA documentation.
 20              Q.           And when you say "we," who is that referring
 21      to?
 22              A.           Management and Human Resources; people who
 23      administer the FMLA and are responsible for it.
 24              Q.           What documentation was required for an FMLA
 25      request?

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   1             A.           Well, there's a certification of physician;
   2     it's a document that the doctor has to fill out,
   3     indicating, you know, what he's doing, documenting that
   4     it's a serious health condition, that it makes someone
   5     eligible for FMLA entitlement; and it indicates, you
   6     know, the length of duration of the event, so that we
   7     would know the expected duration.
   8             Q.           And that's a medical certification form that
   9     you described; is that correct?
 10              A.           It is.
 11              Q.           Is there any other FMLA documentation that's
 12      required, besides the medical certification form that
 13      you described?
 14              A.           Required?       No.      There are other forms, but the
 15      piece that qualifies someone, that's required, is that
 16      certification.
 17              Q.           What are the other forms?
 18              A.           I mean, there's forms that Risk Management
 19      fills out, to designate the leave; there's a return to
 20      work form that can be filled out by a doctor, if they
 21      don't already do that, that we can ask them to fill out;
 22      you know, there's different pieces to the FMLA,
 23      depending on what information the doctor gives.                                    There's
 24      a request for FMLA that can be filled out, if somebody
 25      wants to use that, but we don't require it.

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   1             Q.           When you said, "I will have to do the FMLA
   2     paperwork," was that referring to the medical
   3     certification form, or some other documentation?
   4             A.           Wait a minute, let me see.                   "If you end up
   5     needing more time than that, just let me know, and I
   6     will have to do the FMLA paperwork."                                   That means that
   7     Amy would send a packet to Jenna that included -- it
   8     included information on FMLA, how it works, the
   9     certification of physician that Jenna would need to get
 10      her doctor to fill out; it includes return to work, you
 11      know, the duration, a return to work form that the
 12      doctor can use to fill out.                        It's really just a
 13      designation packet; Amy would do that.
 14              Q.           Those forms would be required to be completed
 15      by Ms. Clark and her physician; correct?
 16              A.           They're completed by the doctor.
 17              Q.           Would you have to complete any of those forms?
 18              A.           No.
 19              Q.           So then, what did you mean when you said that,
 20      "I will have to do the FMLA paperwork"?
 21              A.           My people; I was meaning my people, my Risk
 22      Management folks; Amy or whoever was, you know, filling
 23      in for Amy at the time.
 24              Q.           You meant that she would have to send it to
 25      Ms. Clark?

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   1             A.           We send it -- we can email it too.                     But, either
   2     way, we have to initiate that process, if we're
   3     requiring it, yes.                 Again, with this one, Jenna was
   4     already approved and she thought it was only going to be
   5     7 days; I wasn't going to put everybody through all of
   6     the need to do that, knowing that it was very short and
   7     she gave us enough information to know that it was
   8     approved and it was a qualifying event.                                So, yeah, it
   9     was just really the comment that I made and the
 10      information I put there was letting her know, you know,
 11      "You're covered, you're approved, and let me know if
 12      it's going to be longer, and I'll take care of it."
 13              Q.           What happens when an employee at the Lee County
 14      Sheriff's Office wants to use FMLA leave for less than 7
 15      days?
 16              A.           They can.     They can.           I mean, FMLA is an
 17      entitlement, you know.                    We would go back -- we would go
 18      back and designate it.                    With Jenna, we would have gone
 19      back and designated that first 7 days as FMLA, if she
 20      had been out long enough, you know, to need us to
 21      actually do that.                But when you're giving someone the
 22      time off, you're giving them the entitlement, regardless
 23      of the paperwork.                So again, what's the purpose of doing
 24      the paperwork when you're going above the requirement,
 25      in the beginning.

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   1             Q.           How is the -- or -- sorry.                    When you say "we,"
   2     you say that you were referring to you and the remainder
   3     of your department; is that correct?
   4             A.           Yes.   Yes, I was speaking for my department.
   5             Q.           And what was your department referred to as?
   6             A.           Human Resources/Risk Management/benefits.
   7             Q.           Did how busy, you know, Human Resources was,
   8     impact how you would handle an FMLA leave request?
   9             A.           Only that I didn't -- I didn't notify Amy that
 10      Jenna was out, because I wasn't requiring her to do
 11      anything with it yet and it was being approved and
 12      handled, you know, by her supervisor.                                   So there was no
 13      need for Amy to get involved and do anything, when I
 14      didn't believe, at that point, that it was ever going to
 15      turn into a leave beyond the 7 days.
 16              Q.           And at the time that you exchanged these
 17      messages with Ms. Clark, you believe she had a
 18      qualifying health condition; is that right?
 19              A.           That is correct.
 20              Q.           What health condition did you believe Ms. Clark
 21      had?
 22              A.           She indicated she was having surgery.
 23              Q.           Did you know what the surgery was for?
 24              A.           I did not.      I did not, no.                I don't think I
 25      still know.

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   1             Q.           Did Ms. Clark ever make you aware of any health
   2     conditions that she suffered from, prior to this request?
   3             A.           Yes, she did.
   4             Q.           What health conditions did she make you aware
   5     of?
   6             A.           Oh, I know I'm under deposition, but is it
   7     fair, under HIPAA, for me to discuss things that Jenna
   8     disclosed to me about her health, to people other than
   9     her, without her approving that?                            I feel like --
 10              Q.           Yes, you can disclose her health condition.
 11                           THE WITNESS:       David?
 12                           MR. STEFANY:       You can disclose what
 13              communications the Plaintiff gave you concerning
 14              her health.
 15                           THE WITNESS:       She told me that she had a heart
 16              condition, and she told me that she had a breast
 17              surgery.
 18      BY MR. MACDONALD:
 19              Q.           And when did she tell you about those?
 20              A.           She told me that she had breast implants years
 21      ago and that she believed that those breast implants
 22      were causing her to have all kinds of health issues and
 23      that she was considering having them removed.
 24              Q.           And when did she tell you about the heart
 25      condition?

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   1             A.           Well, that was when she was -- she had open
   2     heart surgery.                I didn't know anything about that until
   3     after she was already back from FMLA and all that.
   4     Yeah.         I mean, we didn't really have very many talks
   5     about the heart surgery.
   6             Q.           Was Ms. Clark the person who told you about the
   7     heart surgery?
   8             A.           No.    No.    I would have -- I learned that she
   9     was out by the FMLA paperwork, I believe, from Risk
 10      Management.                But I know I talked to Annmarie about it.
 11              Q.           What did you discuss with Annmarie Reno, in
 12      regards to the surgery that Ms. Clark underwent?
 13              A.           Just that Jenna was really sick and that she
 14      was going to be out for a while, that she was having
 15      open heart surgery; Annmarie let me know that.                                   And I
 16      let the girls in Risk know that.                              And then, when Jenna
 17      came back, of course, you know, I talked to her about
 18      that; just, you know, "how are you doing, how are you
 19      feeling," things like that.                          But that surgery, I think
 20      that happened -- I don't think I found out about that
 21      until, you know, after it was already happening.
 22              Q.           And when did that surgery for Ms. Clark occur?
 23              A.           Unless I look at documents, I honestly don't
 24      recall what year or, you know.
 25              Q.           Do you recall if it was more than five years

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   1     ago?
   2             A.           I don't think so.           I think it was probably
   3     within the last five years.
   4             Q.           And you said that Ms. Clark used FMLA leave for
   5     that surgery; is that correct?
   6             A.           Yes, I believe she did.                She was out a while.
   7             Q.           Besides the surgery, do you remember any other
   8     instances of Ms. Clark using FMLA leave benefits?
   9             A.           I don't remember any.
 10              Q.           Was Ms. Clark on leave when she was notified of
 11      her termination?
 12              A.           She was.    She was not working; she was out.
 13              Q.           What type of leave was Ms. Clark on, when she
 14      was notified that she was being terminated?
 15              A.           She was out with that surgery, I think -- yeah,
 16      the one that's discussed in that email.
 17              Q.           Do you know what type of leave that was
 18      classified as, internally, with the Lee County Sheriff's
 19      Office?
 20              A.           Sick leave, is what I would -- I don't know how
 21      her time sheet was completed.                          But I knew she was having
 22      surgery, you know, and I knew she was out; so really,
 23      sick leave would have been how I would have described it.
 24              Q.           And you wrote the letter letting Ms. Clark know
 25      her position was being terminated; is that correct?

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   1             A.           Yes.
   2             Q.           And when was that letter written?
   3             A.           August 15 of 2021.
   4             Q.           And is that the date that you wrote the letter
   5     to Ms. Clark?
   6             A.           Yes.
   7             Q.           So you wrote the letter to Ms. Clark notifying
   8     her that her position was being eliminated roughly three
   9     days after this email exchange; is that correct?
 10              A.           Correct.
 11              Q.           Did the fact that Ms. Clark was on leave have
 12      any impact on the timing of that notification of her
 13      position being eliminated?
 14              A.           No.    No.    No, I didn't even know about it.                        I
 15      wrote the letter when I was told about the Reduction in
 16      Force.
 17              Q.           Did you know that Ms. Clark was on leave, when
 18      you wrote that letter about the Reduction in Force?
 19              A.           I did, yes.
 20              Q.           Did that raise any concerns for you?
 21              A.           How -- I mean, I had talked to Annmarie about
 22      it.       Yeah, when she told me about it, I asked a couple
 23      of questions.                But the answers were sufficient, and so I
 24      sent the letter.
 25              Q.           When you spoke with Annmarie Reno about writing

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   1     this letter, did you discuss the fact that Ms. Clark was
   2     on leave at the time?
   3             A.           I did.
   4             Q.           And what did you discuss in that regard?
   5             A.           I told Annmarie that Jenna was on leave and
   6     asked -- I said, "I'm just concerned, because we are
   7     eliminating a position while she's on leave."                                   I said,
   8     you know, "Should we wait until she returns in notifying
   9     her?"
 10                           And Annmarie said, no, that she needed to be
 11      notified right away, because it was happening and it was
 12      happening that day and that they didn't want her to hear
 13      about it from someone else; that they needed to her
 14      about it first, before other people did.                                 So I agreed
 15      with that, and we went ahead and got Jenna involved and
 16      let her know, so that she could, you know, be -- not be
 17      blindsided by someone else.                          Because it was happening.
 18              Q.           Why were you concerned about the fact that
 19      Ms. Clark was on leave?
 20              A.           Because she needed to be told, and I didn't
 21      know what her condition was, in order to be able to
 22      notify her.              I knew that she'd had surgery; I didn't
 23      know if I could call her up or, you know, how Annmarie
 24      was planning to do the notice.                             I didn't want this
 25      information getting out and, you know, someone telling

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   1     her and her not knowing what was happening.                                  So I was
   2     discussing with Annmarie, what is the plan for executing
   3     this Reduction in Force, because Jenna is not in the
   4     office.
   5             Q.           Were you concerned because Ms. Clark may still
   6     be recovering from her surgery?
   7             A.           Well, I was -- I was concerned how we were
   8     going to tell her.                 Annmarie had been in contact with
   9     her, I hadn't.              So, yeah, I had no idea; like, "Have you
 10      talked to her?              Have you told her?                  Is this letter the
 11      first notice?"              You know, that kind of thing.
 12                           I was trying to -- I mean, Jenna is a human
 13      being; I wanted to make sure that we were treating her
 14      the way that I would want to be treated and she needs to
 15      know that from us, not from her co-workers, that we'd
 16      eliminated her position.                      So that was the conversation
 17      that I was having with Annmarie is, what is the plan to
 18      execute this Reduction in Force.
 19                           And at that point, Annmarie told me she had
 20      texted with Jenna and talked to Jenna.                                 So I knew that
 21      there had been some conversation and Jenna was okay to
 22      -- you know, I sent the notification letter; it was okay
 23      to send it.
 24              Q.           And in response, Annmarie Reno instructed you
 25      to send the letter, even though the fact that Ms. Clark

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   1     was on leave; correct?
   2             A.           Correct.
   3             Q.           During your time as director of human
   4     resources, are you aware of any other employees of the
   5     Lee County Sheriff's Office that were terminated while
   6     they were out on leave?
   7             A.           I know a lot of people have not returned to
   8     work from a leave, whatever -- you know, whatever the
   9     situation was, whether it was a termination or a
 10      retirement or.                I do know that other people have done
 11      that.
 12              Q.           And you're referring to an employee not
 13      returning from leave?
 14              A.           Yes.    Correct.
 15              Q.           Are you aware of any employees that were
 16      notified that their position was being eliminated, while
 17      they were out on leave, during your time as director of
 18      human resources?
 19              A.           No.    I don't recall for sure if there was
 20      anyone else that was out on leave.
 21              Q.           If Ms. Clark's leave had been designated using
 22      that FMLA paperwork, would that have impacted the timing
 23      of the notification that her position was being
 24      eliminated?
 25              A.           No, it wouldn't have.                 That was my reasoning

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   1     with talking to Annmarie.                        And it was happening
   2     regardless; it had nothing to do with the fact that she
   3     was out.              The Reduction in Force was happening, and that
   4     was my concern is, because Jenna wasn't at work, how we
   5     were going to notify her.                        But it was happening,
   6     regardless of her status.                        It's my understanding this
   7     had been in the works for -- again, I told you, I think
   8     earlier, that the Reduction in Force had been happening
   9     for years.
 10              Q.           And how did you learn that those reductions in
 11      force had been in the works?
 12              A.           I was told when I needed to send the notices; I
 13      was told when it was time to -- you know, when it was
 14      happening, because I was the one who sent the notices.
 15              Q.           During your time as director of human
 16      resources, did the Lee County Sheriff's Office have any
 17      policies against terminating employees while they're
 18      recovering from surgery?
 19              A.           No.
 20              Q.           While you were the director of human resources,
 21      did the Lee County Sheriff's Office have any policies
 22      against terminating employees while they were on FMLA
 23      leave?
 24              A.           No.   I mean, there are FMLA policies and FMLA
 25      rules, but there was no policy stating it can't be done,

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   1     no.
   2             Q.           Well, those are all the questions I have for
   3     you today.              I want to thank you for your time.                      And
   4     Mr. Stefany may have some questions for you.
   5             A.           Okay.
   6                          MR. STEFANY:        Let's take a five-minute break,
   7             and then I'll be back and see if I have any
   8             questions.
   9                          THE COURT REPORTER:              We're off the record.
 10                           (A brief recess was taken.)
 11                           THE COURT REPORTER:              We are back on the record.
 12                           MR. STEFANY:        Ms. Heikkila, I just have a few
 13              questions for you.                 Kyle, can you put back up
 14              Exhibit 10 on the share screen.
 15                           MR. MACDONALD:          Yes.       (Screen share began and
 16              said document was displayed.)
 17                                        CROSS-EXAMINATION
 18      BY MR. STEFANY:
 19              Q.           Ms. Heikkila, can you see this document?
 20              A.           Yes.
 21              Q.           I just want to be clear, for my understanding.
 22      As of August of 2021, do you by chance recall what work
 23      schedule Jenna Clark worked, from week to week?
 24              A.           Well, she was a director, so she would have
 25      either been on a four-day or a five-day work week; I

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   1     don't know that I ever knew her schedule, other than
   2     that.
   3             Q.           Okay.   So if her timesheets reflected that she
   4     only worked Monday through Thursday in August of 2021,
   5     that would seem to me to indicate that she was on a
   6     four-day work schedule, with four 10-hour workdays; is
   7     that right?
   8             A.           Yes.
   9             Q.           Okay.   So as I review this email trail which
 10      was previously marked and identified as Exhibit 10, if I
 11      go to Jenna Clark's email to you, which is dated August
 12      12, 2021, at 1:06 p.m., it seems to me she's telling you
 13      what days she's going to need to be out, which begins on
 14      August 18 through the 20th, and then she's out again on
 15      the 24th through the 27th; correct?
 16              A.           Correct.
 17              Q.           All right.      So in identifying the days that she
 18      expected to be out from her scheduled work, when you
 19      provided the letter that you have identified of notice
 20      of her job's elimination, dated August 15, she would not
 21      have -- she would not yet have been on leave; correct?
 22              A.           Not according to this email.
 23              Q.           Okay.   So I believe your testimony earlier was
 24      that at the time Annmarie Reno asked you to compose and
 25      send a letter to Jenna Clark, notifying her of her job

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   1     elimination, she said to you at the same conversation or
   2     she indicated to you at the same conversation that she
   3     was going to authorize administrative leave with pay for
   4     Ms. Clark; did I understand your testimony correctly?
   5             A.           No.   She told me that we were eliminating
   6     Jenna's job immediately and that the undersheriff had
   7     approved her to be paid administrative leave with pay
   8     for the period included in this letter, like, for
   9     additional time for her to decide if she -- what she
 10      wanted to do.                Essentially, that's what Annmarie told
 11      me.
 12              Q.           Okay.    So and that was all during the same
 13      conversation where you were asked to provide the letter
 14      of August 15, 2021?
 15              A.           Correct.
 16              Q.           All right.       So did you prepare that letter and
 17      send it out to Ms. Clark on the same day you had the
 18      conversation with Annmarie Reno, or were they on
 19      different days?
 20              A.           I believe it was the same day, but I said -- it
 21      was possible that she told me one day and that the
 22      letter didn't go out until the next day; but it was
 23      definitely within a day.
 24              Q.           Okay.    And is it your recollection -- and my
 25      notes just are not clear.                         Is it your recollection that

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   1     the letter went out via mail and email, or just mail?
   2             A.           I did not know for sure if it went out both; I
   3     know that it would have gone out via regular mail, for
   4     sure.
   5             Q.           Okay.    So a quick look at the calendar confirms
   6     to me that August 15, 2021 was actually a Sunday.                                      So if
   7     a letter was drafted on a Sunday, would it have gone out
   8     that Sunday, or would it have gone out on the next day,
   9     the Monday, if you recall?
 10              A.           Yes.    It was drafted on the 15th, which to me
 11      tells me that they were eliminating the position with
 12      the beginning of a new week, a new payroll week.                                     For
 13      action sheets, we do that at the beginning of a pay
 14      period.              So it tells me that that was the effective date
 15      of the action, which was the Reduction in Force; and I
 16      would not have been there on a Sunday to mail that
 17      letter, so I would say it went out the day after, in the
 18      mail.
 19              Q.           All right.       And it reflects -- the
 20      documentation that I'm familiar with reflects that for
 21      the period beginning, it looks like beginning the 17th
 22      of August, which would have been a Tuesday, August 17,
 23      2021, that that was the first -- that was the first day
 24      that Jenna Clark began administrative leave with pay,
 25      and she remained in that status until her retirement

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   1     date of September 3rd of 2021.                             Is that consistent with
   2     your recollection?
   3             A.           Yes.    And it makes sense.                  She was probably on
   4     a Tuesday-through-Friday work week.
   5             Q.           Okay.    And if she was actually on a Monday --
   6     was it possible that she could have been on a Monday-
   7     through-Thursday work week, at that time?
   8             A.           Well, it's possible if she worked Monday.                           You
   9     know, according -- if she was --
 10              Q.           I'm looking at some documentation, which you
 11      don't have the benefit of, that reflects that she worked
 12      10 hours on August 16, 2021.
 13              A.           Okay.    Well, yeah.            I guess what I can't
 14      explain then -- it's possible, obviously, if that's the
 15      case.         I didn't expect you to say that because I wrote
 16      the letter for August 15.                         So that's where I'm thrown
 17      off a little, that I wrote the letter on the 15th and
 18      you say she worked on the 16th and the leave started on
 19      the 17th; that's kind of weird to me.
 20              Q.           Well, I'm just looking at the time sheet.
 21                           MR. STEFANY:         And, Counsel, just for the
 22              record, it's Defense Bates 000421, is the time
 23              sheet that I'm referring to, for purposes of
 24              clarity.
 25                           MR. MACDONALD:           Thank you.

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   1     BY MR. STEFANY:
   2             Q.           With respect to your earlier testimony, you
   3     also mentioned that there was a concern discussed
   4     between you and Annmarie Reno about needing to get the
   5     notification to Jenna Clark before she found out some
   6     other way -- that's my paraphrase.                               Did I understand
   7     your testimony correctly?
   8             A.           Yes.
   9             Q.           Was there any conversation during that
 10      discussion with Annmarie Reno, as to how it would be
 11      that Jenna Clark might otherwise find out about her job
 12      elimination, if the notice wasn't promptly given to her?
 13              A.           Well, because it was going to become -- there
 14      was a notification to employees that there was a
 15      Reduction in Force and that we were reducing/eliminating
 16      positions; and if -- so if one of her co-workers, you
 17      know, Shannon, or somebody that worked with her -- you
 18      know, they were friends; they called, they talked to
 19      each other on the phone.                       Once it becomes common
 20      knowledge, she would have heard it from somewhere.
 21              Q.           Okay.
 22              A.           So, yes, that was my concern, how we would do
 23      it.
 24              Q.           And what role, if any, would you have had in
 25      effectuating that communication about the RIF, if at

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   1     all?
   2             A.           Well, I wanted to know, am I telling her, am I
   3     calling her, or are you?                       Because normally, a supervisor
   4     would have that conversation, and I would be a part of
   5     it.       But Annmarie said that she was taking care of
   6     letting Jenna know; and then it was up to me to formally
   7     do the letter and talk to her about what her decisions
   8     were, going forward.                   She was basically turning it over
   9     to me.
 10              Q.           Okay.   And did you ever have a communication
 11      with Annmarie Reno that confirmed when, in fact, Ann
 12      Marie's notice to Jenna Clark took place?
 13              A.           I remember Annmarie saying that she had -- that
 14      she had talked to her, so it was okay for me to send the
 15      letter.
 16              Q.           So by that communication and recollection, do I
 17      understand that the communication between Annmarie Reno
 18      and Jenna Clark took place sometime prior to August 15
 19      when you drafted the letter?
 20              A.           That's what I would have said, except for you
 21      just told me she worked on the 16th; so, no, it must not
 22      have happened that way.                      She must have told her after
 23      the 16th, and I must have just dated the letter based on
 24      the pay period that the position was eliminated.                                    That's
 25      all I can conclude, based on the information I have

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   1     today.          I don't recall any of that; you know, that
   2     particular time frame, I don't recall that right now.
   3             Q.           Okay.    And I understand your testimony from
   4     earlier is that with respect to the heart surgery that
   5     Jenna Clark had and missed some time with FMLA leave as
   6     a consequence, you don't recall when that took place?
   7             A.           No.    I think it was -- I don't recall exactly.
   8     I mean, it was probably within like a year or so.                                      It
   9     was within her last couple of years of employment; I'm
 10      pretty sure of that, yes.
 11                           MR. STEFANY:         That's all I have, thank you.
 12                           Any redirect, Kyle?
 13                           MR. MACDONALD:           No, no redirect.
 14                           MR. STEFANY:         Ms. Heikkila, you have the right
 15              to review a transcript of your deposition testimony
 16              if one is made, or you can waive the reading of the
 17              transcript.            The court reporter just needs to know
 18              which you would prefer to do before she closes the
 19              record.            And I would say that pertains to both
 20              transcripts, your 30(b)(6) transcript, as well as
 21              your individual transcript, if ordered.
 22                           THE WITNESS:         I'll waive the reading.
 23                           THE COURT REPORTER:               We're off the record.
 24                           (Thereupon the deposition was terminated at
 25      12:42 p.m.

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   1                                    CERTIFICATE OF OATH
   2     STATE OF FLORIDA               )
         COUNTY OF ORANGE               )
   3
                              I, Julie S. Evans, Professional Court Reporter,
   4
         Notary Public, State of Florida, certify that DAWN
   5
         HEIKKILA appeared before me via Zoom on October 11,
   6
         2023, and was duly sworn.
   7
                              Witness my hand and official seal this 28th day
   8
         of December 2023.
   9

 10

 11                                     __________________________
                                        JULIE S. EVANS
 12                                     Professional Court Reporter
                                        Notary Public, State of Florida
 13                                     My Commission No. GG939756
                                        Expires: 1/21/2024
 14

 15

 16

 17

 18

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   1                                 CERTIFICATE OF REPORTER
   2     STATE OF FLORIDA               )
         COUNTY OF ORANGE               )
   3
                              I, Julie S. Evans, Professional Court Reporter,
   4
         do hereby certify that I was authorized to and did
   5
         stenographically report the deposition of DAWN HEIKKILA;
   6
         that a review of the transcript was not requested; and
   7
         that the foregoing transcript, page number 1 through 42,
   8
         is a true and complete record of my stenographic notes.
   9

 10                           I further certify that I am not a relative,
 11      employee, attorney, or counsel of any of the parties,
 12      nor am I a relative or employee of any of the parties'
 13      attorneys or counsel connected with the action, nor am I
 14      financially interested in the action.
 15
                              Dated this 28th day of December 2023.
 16

 17

 18                                          ____________________________
                                             Julie S. Evans
 19                                          Professional Court Reporter
 20

 21

 22

 23

 24

 25

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 10 (5)                                                     assistant (1)          Carrie (1)
 10-hour (1)                  <5>                           Association (1)        CASE (3)
 11 (2)                       520 (1)                       attorney (1)           cause (1)
 11:24 (1)                                                  attorneys (1)          causing (1)
 12 (5)                       <7>                           August (18)            CERTIFICATE (4)
 12:26 (1)                    7 (9)                         authorize (1)          certification (6)
 12:42 (2)                                                  authorized (1)         certifications (1)
 12:47 (1)                    <8>                           available (3)          certify (3)
 1294 (1)                     8/12/21 (1)                   Avenue (1)             chain (2)
 1294-1295 (1)                                              aware (7)              chance (1)
 1295 (1)                     <9>                                                  check (1)
 15 (7)                       9 (2)                         <B>                    chief (2)
 15th (2)                                                   bachelor's (1)         Christian (8)
 16 (1)                       <A>                           back (12)              Cindy (1)
 16th (3)                     a.m (1)                       bank (1)               clarity (1)
 17 (2)                       able (1)                      based (2)              CLARK (56)
 17th (2)                     abuse (5)                     basically (4)          Clark's (4)
 18 (2)                       accrual (1)                   Bates (5)              classified (1)
 18th (1)                     accrued (1)                   began (3)              clear (2)
 1999 (1)                     action (5)                    beginning (5)          clearly (1)
                              activate (1)                  begins (1)             closes (1)
 <2>                          additional (1)                BEHALF (3)             coaching (1)
 2:22-cv-614-SPC-             administer (1)                believe (15)           coffee (1)
 NPM (1)                      administered (1)              believed (1)           come (1)
 2005 (1)                     administrative (3)            benefit (1)            command (2)
 2020 (1)                     Affairs (2)                   Benefits (2)           comment (1)
 2021 (13)                    affirm (1)                    beyond (1)             Commission (1)
 2023 (5)                     ago (4)                       blindsided (1)         common (1)
 20th (1)                     agreed (2)                    Blue (1)               communicate (1)
 225 (1)                      ahead (2)                     break (1)              communication (4)
 24 (1)                       Allen (1)                     breast (3)             communications (1)
 24th (1)                     allow (1)                     Brickell (1)           complain (4)
 27th (1)                     amount (2)                    brief (1)              complained (3)
 28th (2)                     Amy (9)                       briefly (1)            complaining (1)
                              Ann (1)                       bringing (1)           complaint (8)
 <3>                          Annmarie (44)                 broad (1)              complaints (7)
 30(b)(6 (1)                  answer (2)                    bureau (1)             complete (2)
 324 (1)                      answers (1)                   busy (3)               completed (5)


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Deposition of Dawn Heikkila                                                    Jenna Clark v. Carmine Marceno

 completing (1)               decided (1)                effect (1)             financially (1)
 compose (1)                  decisions (2)              effective (1)          find (1)
 concern (3)                  Defendant (2)              effectuating (1)       fire (1)
 concerned (4)                defendant's (1)            either (2)             first (8)
 concerning (1)               Defense (1)                eligible (2)           five (2)
 concerns (1)                 definitely (1)             eliminated (6)         five-day (1)
 conclude (1)                 degree (1)                 eliminating (3)        five-minute (1)
 condition (8)                department (3)             elimination (3)        FLORIDA (10)
 conditions (2)               depending (2)              email (12)             FMLA (43)
 conduct (3)                  DEPOSITION (7)             employee (6)           folks (1)
 conducted (2)                Derek (1)                  employees (19)         follow (1)
 conducting (2)               describe (1)               employment (3)         follows (1)
 conferences (1)              described (3)              engage (1)             force (11)
 confirmed (1)                designate (2)              engaged (1)            foregoing (1)
 confirms (1)                 designated (2)             engaging (1)           form (6)
 connected (1)                designation (1)            entitlement (4)        formal (5)
 consequence (1)              different (2)              ESQUIRE (2)            formalized (1)
 considering (1)              DIRECT (3)                 Essentially (1)        formally (1)
 consistent (1)               directed (1)               establish (1)          forms (5)
 contact (1)                  directly (1)               Evans (5)              Forsyth (1)
 conversation (8)             Director (19)              event (5)              forth (1)
 correct (33)                 disciplinary (1)           eventually (1)         forward (1)
 corrections (2)              disciplined (1)            everybody (1)          found (3)
 correctly (2)                disclose (2)               exactly (3)            four (1)
 counsel (4)                  disclosed (1)              Examination (3)        four-day (2)
 Country (1)                  discriminated (1)          Excerpt (3)            frame (1)
 County (19)                  discrimination (9)         exchange (1)           frequent (1)
 couple (3)                   discuss (9)                exchanged (1)          frequently (1)
 course (1)                   discussed (5)              execute (1)            friends (1)
 COURT (13)                   discussing (1)             executing (1)          full (1)
 covered (2)                  discussion (1)             Executive (1)          further (1)
 Covid (1)                    displayed (1)              EXHIBIT (4)
 co-workers (2)               DISTRICT (2)               expect (1)             <G>
 create (1)                   division (1)               expected (2)           gather (1)
 CROSS (1)                    doctor (6)                 Expires (1)            general (3)
 CROSS-                       doctor's (1)               explain (1)            getting (4)
 EXAMINATION (1)              document (9)                                      GG939756 (1)
 currently (1)                documentation (8)          <F>                    girls (1)
                              documenting (1)            fact (6)               give (6)
 <D>                          documents (1)              fair (1)               given (1)
 DATE (4)                     doing (4)                  familiar (2)           gives (1)
 dated (9)                    Dr (1)                     far (1)                giving (2)
 dates (1)                    drafted (3)                feel (1)               Go (7)
 DAVID (2)                    duly (2)                   feeling (1)            God (1)
 DAWN (8)                     duration (3)               felt (2)               going (30)
 day (13)                                                fill (4)               gosh (1)
 days (19)                    <E>                        filled (2)             Government (1)
 December (2)                 earlier (4)                filling (1)            Group (1)
 decide (1)                   early (1)                  fills (1)              guess (1)


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                              information (9)            Lehman (4)             months (1)
 <H>                          initiate (1)               length (1)
 hand (2)                     instances (1)              letter (26)            <N>
 handle (2)                   instructed (2)             letting (3)            name (2)
 handled (1)                  interact (3)               little (1)             names (1)
 handles (1)                  interested (1)             long (6)               need (6)
 handling (1)                 Internal (2)               longer (3)             needed (5)
 happened (2)                 internally (1)             look (2)               needing (3)
 happening (10)               investigated (3)           looking (2)            needs (2)
 happens (1)                  investigation (6)          looks (1)              new (2)
 harassed (1)                 investigations (3)         lot (6)                night (2)
 harassment (2)               involved (6)               lots (1)               normally (2)
 health (10)                  issue (1)                                         North (1)
 hear (1)                     issues (3)                 <M>                    Norton (1)
 heard (2)                                               MACDONALD (9)          Notary (3)
 heart (7)                    <J>                        mail (5)               note (1)
 Heikilla (1)                 JENNA (58)                 making (1)             notes (5)
 HEIKKILA (10)                Jenna's (1)                Management (8)         notice (6)
 held (1)                     Jinx (1)                   Management/benefits    notices (2)
 help (1)                     job (4)                    (1)                    notification (5)
 hereto (1)                   job's (1)                  manager (2)            notifications (1)
 HIPAA (1)                    judge (1)                  manual (1)             notified (5)
 hire (1)                     Julie (5)                  MARCENO (2)            notify (4)
 hired (1)                    July (1)                   Marie (1)              notifying (4)
 hiring (1)                   June (1)                   Marie's (1)            number (1)
 hold (4)                     jury (1)                   mark (2)               numerous (1)
 honestly (1)                                            marked (1)
 hours (1)                    <K>                        matter (1)             <O>
 HR (1)                       Key (1)                    Matthew (1)            O-301 (1)
 human (24)                   kind (3)                   mean (18)              OATH (3)
 Hyde (1)                     kinds (1)                  meaning (1)            Objection (1)
                              knew (7)                   means (1)              obligation (1)
 <I>                          knonw (1)                  meant (1)              obviously (2)
 IA (1)                       know (89)                  medical (4)            occur (1)
 idea (2)                     knowing (2)                meet (1)               occurred (1)
 identified (2)               knowledge (1)              meetings (2)           October (2)
 identifying (1)              known (1)                  member (2)             Office (18)
 immediately (1)              KYLE (3)                   mention (1)            officer (2)
 impact (2)                                              mentioned (2)          official (2)
 impacted (1)                 <L>                        message (17)           Oh (3)
 implants (2)                 label (1)                  messages (1)           okay (16)
 included (4)                 labeled (1)                Miami (1)              Once (1)
 includes (1)                 Law (2)                    MIDDLE (1)             open (4)
 INDEX (2)                    LCSO (1)                   minute (1)             opportunity (1)
 indicate (1)                 learn (1)                  missed (1)             ORANGE (2)
 indicated (3)                learned (1)                Mojica (8)             order (1)
 indicates (1)                leave (50)                 M-O-J-I-C-A (1)        ordered (1)
 indicating (2)               Lee (17)                   moment (1)             outcome (1)
 individual (1)               left (1)                   Monday (5)


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 <P>                          previously (1)             referred (2)           roughly (1)
 P.A (1)                      prior (3)                  referring (6)          rules (1)
 p.m (8)                      probably (10)              reflected (1)
 packet (2)                   process (2)                reflects (3)           <S>
 page (1)                     Professional (4)           regard (1)             Salem (1)
 paid (1)                     program (1)                regarding (3)          Sands (2)
 paperwork (10)               promoted (2)               regardless (4)         saying (2)
 paraphrase (1)               promptly (1)               regards (1)            says (1)
 Park (1)                     provide (1)                regular (1)            schedule (3)
 part (6)                     provided (1)               related (4)            scheduled (2)
 participated (1)             Public (3)                 relates (2)            Screen (3)
 particular (1)               purchased (1)              relative (2)           scroll (2)
 parties (5)                  purchasing (3)             remainder (1)          seal (1)
 pattern (5)                  purpose (1)                remained (1)           see (7)
 pay (8)                      purposes (2)               remember (6)           seen (1)
 payroll (1)                  put (4)                    removed (1)            send (10)
 people (11)                                             Reno (23)              sense (1)
 performance (1)              <Q>                        Reno's (1)             sent (6)
 period (4)                   qualifies (1)              repeat (2)             sentence (1)
 person (5)                   qualifying (5)             report (6)             September (1)
 pertains (1)                 question (3)               reported (1)           sergeant (2)
 peruses (1)                  questions (5)              Reporter (13)          serious (1)
 ph (1)                       quick (1)                  reports (1)            services (1)
 phone (2)                    quite (1)                  request (7)            session (1)
 physician (3)                                           requested (1)          Shannon (6)
 piece (2)                    <R>                        requests (2)           share (3)
 pieces (1)                   raise (2)                  require (3)            she'd (1)
 PLACE (4)                    read (1)                   required (7)           sheet (5)
 placed (1)                   reading (3)                requirement (1)        sheets (1)
 Plaintiff (4)                real (1)                   requirements (1)       she'll (1)
 Plaintiff's (3)              really (6)                 requiring (2)          Sheriff (2)
 plan (2)                     reason (1)                 resource (1)           Sheriff's (18)
 planning (1)                 reasoning (1)              resources (21)         shift (4)
 Please (3)                   recall (15)                Resources/Risk (1)     short (2)
 PLLC (1)                     receive (2)                respect (2)            show (2)
 point (3)                    received (5)               respective (1)         SHRM (1)
 poisoned (1)                 receiving (2)              response (2)           sick (3)
 policies (3)                 recess (1)                 responsible (1)        signing (1)
 policy (6)                   recognize (2)              retired (1)            situation (4)
 position (14)                recollection (4)           retirement (2)         slammed (1)
 positions (5)                record (7)                 return (3)             Smith (1)
 positive (1)                 recovering (2)             returned (1)           Society (1)
 possible (4)                 redirect (2)               returning (1)          solemnly (1)
 possibly (1)                 reducing/eliminating       returns (1)            somebody (2)
 practice (1)                  (1)                       review (5)             sorry (3)
 prefer (1)                   Reduction (9)              RIF (1)                South (1)
 prepare (1)                  reductions (1)             right (14)             speaking (1)
 pretty (1)                   refer (1)                  Risk (8)               specific (3)
 prevent (1)                  reference (1)              role (9)               specifically (3)


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 spoke (1)                    things (4)
 standpoint (1)               think (18)                 <V>
 start (1)                    thinking (1)               various (1)
 started (4)                  thought (2)                videoconference (1)
 state (5)                    three (1)
 STATES (1)                   through-Thursday (1)       <W>
 stating (1)                  thrown (1)                 Wait (2)
 status (2)                   Thursday (1)               waive (2)
 STEFANY (12)                 TIME (46)                  waived (1)
 stenographic (1)             times (4)                  want (8)
 stenographically (1)         timesheets (1)             wanted (6)
 stipulated (1)               timing (2)                 wants (2)
 stopped (2)                  title (2)                  way (4)
 strike (2)                   today (3)                  Wednesday (1)
 suffered (1)                 told (26)                  week (8)
 sufficient (1)               total (1)                  weird (1)
 suggested (1)                trail (2)                  Well (18)
 Suite (2)                    trained (1)                went (6)
 Sunday (4)                   training (10)              we're (3)
 supervisor (7)               trainings (3)              Winston (1)
 support (1)                  transcript (7)             witness (9)
 sure (11)                    transcripts (1)            work (19)
 surgery (22)                 transferred (7)            workdays (1)
 swear (1)                    treated (1)                worked (10)
 sworn (2)                    treating (1)               working (1)
                              true (1)                   works (4)
 <T>                          truth (3)                  Wow (1)
 take (6)                     truthfully (2)             writing (3)
 TAKEN (6)                    trying (1)                 written (1)
 talk (2)                     Tuesday (1)                wrote (7)
 talked (8)                   Tuesday-through-
 talking (1)                  Friday (1)                 <Y>
 talks (3)                    turn (1)                   yeah (10)
 Tampa (1)                    Turner (1)                 year (5)
 tasked (1)                   turning (1)                years (11)
 tell (6)                     two (3)
 telling (4)                  type (6)                   <Z>
 tells (3)                    typically (1)              ZOOM (7)
 terminated (5)
 terminating (4)              <U>
 termination (2)              undersheriff (1)
 terms (1)                    understand (8)
 testified (1)                understanding (2)
 testify (1)                  understood (1)
 testifying (2)               underwent (1)
 TESTIMONY (9)                Unit (3)
 texted (1)                   UNITED (1)
 thank (3)                    unpaid (1)
 thing (1)                    use (5)


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                          EXHIBIT 9
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  From: Heikkila, Dawn <                          >
  Sent: Thursday, June 18, 2020 12:47 PM EDT
  To: Clark, Jenna <JClark@sheriffleefl.org>; Lehman, Shannon <                                                                               >
  Subject: RE: from policy Chapter 22
  Full-time members are required to work a full-time schedule or account for hours missed by
  using accrued leave time. If a member must be absent from work for whatever reason, they must
  use the appropriate amount of accrued leave time that would bring their combined work and
  leave time to the scheduled 80 or 84 hours required for the pay period. The employee may not
  choose to take time missed from work as “Leave without pay” unless it is approved FMLA. If
  the member has exhausted all accrued leave time, the missed time then becomes leave without
  pay. A pattern of abuse may be cause for disciplinary action.



                                           Dawn Heikkila, Director
                                           Lee County Sheriff's Office
                                           Desk:

                                           www.sheriffleefl.org




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                                                                                                                                                             LCSO/Clark
                                                                                                                                                             DEF004341
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                          EXHIBIT 10
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  From: Heikkila, Dawn <
  Sent: Thursday, August 12, 2021 1:16 PM EDT
  To: Clark, Jenna <JClark@sheriffleefl.org>
  Subject: RE: message
  Ok…well we are so busy right now that I am going to hold off on the FMLA…if you end up needing more time that that just let me
  know and I will have to do the FMLA paperwork.

  Thanks and I wish you a speedy recovery!!




                                  Dawn Heikkila, Director
                                  Lee County Sheriff's Office
                                  Desk:
                                  DHeikkila@sheriffleefl.org
                                  www.sheriffleefl.org




  From: Clark, Jenna <JClark@sheriffleefl.org>
  Sent: Thursday, August 12, 2021 1:06 PM
  To: Heikkila, Dawn
  Subject: RE: message

  18-20
  24-27
  Total of 7 days.


  Jenna Clark | Purchasing Director
  Desk: 239-477-1313
  Purchasing
  Lee County Sheriff's Office
  JClark@sheriffleefl.org | www.sheriffleefl.org
  From: Heikkila, Dawn
  Sent: Thursday, August 12, 2021 1:04 PM
  To: Clark, Jenna <JClark@sheriffleefl.org>
  Subject: RE: message

  Ok…if you are out more than a week I will forward it to Amy for FMLA…do you know how long you plan to be out?



                                  Dawn Heikkila, Director
                                  Lee County Sheriff's Office
                                  Desk: 239-477-1132
                                  DHeikkila@sheriffleefl.org
                                  www.sheriffleefl.org



  From: Clark, Jenna <JClark@sheriffleefl.org>
  Sent: Thursday, August 12, 2021 12:26 PM
  To: Heikkila, Dawn
  Subject: message

  Hi Dawn –

  I called you to let you know I have surgery scheduled on the 18th - Annmarie said to let you know, she already approved my time.

  Thanks!
  Jenna

  Jenna Clark | Purchasing Director
  Desk: 239-477-1313
  Purchasing
  Lee County Sheriff's Office
  JClark@sheriffleefl.org | www.sheriffleefl.org

  ***IMPORTANT MESSAGE***
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                                                                                                            DEF001294
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                                                                                                                                                             LCSO/Clark
                                                                                                                                                             DEF001295
